              Case 20-12522-JTD          Doc 8762       Filed 05/04/23        Page 1 of 13




                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE


    In re                                               :
                                                        :    Chapter 11
    In re:                                              :
    MALLINCKRODT PLC, et al.,                           :   Case No. 20-12522 (JTD)
                                                        :   (Jointly Administered)
                                   Debtors. 1
                                                        :
                                                        :   Obj. Deadline: May 4, 2023 at 4:00 p.m. (ET)
                                                        :
                                                        :   Hearing Date: May 24, 2023 at 1:00 p.m. (ET)
                                                        :
                                                            Re: D. I. 8671



                  RESPONSE OF HAVILAND HUGHES TO
    GENERAL UNSECURED CLAIMS TRUSTEE’S THIRD OMNIBUS OBJECTION
    TO CERTAIN NO LIABILITY/NO SUPPORTING DOCUMENTATION CLAIMS
                          (NON-SUBSTANTIVE)




1
  A “complete list of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
claims and noticing agent at http://restructuring.primeclerk.com/Mallinckrodt.”



                                                    i
             Case 20-12522-JTD          Doc 8762       Filed 05/04/23     Page 2 of 13




                                         INTRODUCTION

        Unsecured creditor, Haviland Hughes, hereby responds to “Third Omnibus Objection” of

the General Unsecured Claims (GUC) Trustee, Heather Barlow (the “GUC Trustee”). D.I.

8671.

        Haviland Hughes responds to the GUC Trustee’s objection to Haviland Hughes’ timely-

filed proofs of claim (the “HH Claims”) after almost a year since last appearing in this case. See

Exhibit 1 to the Proposed Order (D.I. 8671-1) (listing POC Nos. 5265 and 6204 as timely filed

February 16, 2021 against Debtors Mallinckrodt plc and Mallinckrodt ARD LLC, respectively).

Despite the Trustee’s stated desire to “streamline” the process of reviewing the “56,000 proofs of

claim [] filed against the Debtors’ estates [that] were assumed by the General Unsecured Claims

Trust”, the GUC Trustee made no effort to reach out to Haviland Hughes before filing its

objection to the HH Claims. D.I. 7791 at 3. 2 Rather than try to “avoid the potential extreme

burden that resolving these claims could place upon the Court”, id., the GUC Trustee has

interposed a boilerplate objection that, according to the GUC Trustee, will “result in a significant

investment of the time and limited resources of the [GUC] Trust, the Court, and all other parties”

if not timely resolved. Id.

        This Court is familiar with the unsecured claimant due to its direct role throughout the

bankruptcy proceedings on behalf of its clients, the Acthar Plaintiffs.3 So too is the counsel


2
 Shortly after her appointment as GUC Trustee, Ms. Barlow filed a Motion for an Order approving
certain alternative dispute resolution (ADR) procedures specifically for the unsecured claims in Plan
Classes 6(A), 6(B), 6(F), and Class 7 Trade claims assumed by the GUC Trust. Haviland Hughes’ claims
were presumably among the approximate 3,500 claims in those classes. Id. at 3 (“The approximately
3,500 claims … that remain outstanding as of the Effective Date were assumed by the [GUC] Trust.”)

3
  The “Acthar Plaintiffs” consist of the following: the City of Rockford (“Rockford), Steamfitters Local
Union No. 420 (“Steamfitters Local 420”), the International Union of Operating Engineers Local 542
(“IUOE Local 542”), United Association of Plumbers & Pipefitters Local 322 of Southern New Jersey
(“Plumbers Local 322”) and Acument Global Technologies (“Acument”), individually and on behalf of the


                                                   1
              Case 20-12522-JTD            Doc 8762       Filed 05/04/23       Page 3 of 13




representing the GUC Trustee who file the instant objection. Such counsel previously served as

counsel for the Unsecured Creditors Committee (UCC), 4 on which committee two of the clients

of Haviland Hughes served as members. One client, Acument, served as Chair of the UCC.

        The decision to object to the HH Claims appears motivated by something other than “the

best interests of all parties”, especially the GUC Trust. 5 D.I. 7791 at 4. Resolving the objection

will likely require re-opening the pandora’s box the Acthar Plaintiffs and the Debtors worked so

hard to close, allowing the Plan to be approved and funded by the substantial revenues generated

by Acthar paid for by the Acthar Plaintiffs, and thousands of other TPPs in the putative classes

they represent outside bankruptcy. Such a course is ill-advised, and it is both fair and appropriate

for this Court to inquire of counsel for the GUC Trustee, and the Trustee herself, how and why

they determined it was worthwhile to pick this unnecessary fight.

     CONCISE STATEMENT SETTING FORTH THE REASONS WHY HAVILAND
              HUGHES’ CLAIMS SHOULD NOT BE DISALLOWED

                                     The GUC Trustee Objection

        1.      In the Objection, the GUC Trustee states that she “has determined, based on her

review” of the HH Claims, that the claims “should be disallowed and expunged.” D.I. 8671 at 6.




classes of third party payors (“TPPs”) in their respective cases currently pending in federal district courts
in the Northern District of Illinois (the Rockford Action) and the Eastern District of Pennsylvania (the
Steamfitters Local 420 Action), and the District of Delaware (the IUOE Local 542), respectively.
4
  Given the previous role served by counsel for the GUC Trustee, Haviland Hughes reserves all rights as
to counsel’s potential conflict of interest in their present role, especially in advancing an objection that
directly implicates the work done on behalf of the Acthar Plaintiffs to seek relief agasint the debtors
respecting Acthar.
5
  In seeking this Court’s approval of an ADR procedure, Ms. Barlow argued the GUC Trust “likely would
face significant challenges over a substantial period of time liquidating the large number of the Disputed
General Unsecured Claims filed through traditional litigation procedures and, absent the ADR
Procedures, would be forced to expend substantial time and resources resolving such claims to the
detriment of all parties in interest.” D.I. 7791 at 10.


                                                      2
             Case 20-12522-JTD         Doc 8762       Filed 05/04/23    Page 4 of 13




The GUC Trustee offers little more. The GUC Trustee also offers no detail as to the process she

undertook to “review” the HH Claims, and “determine” they should be disallowed.

       2.      The GUC Trustee claims Haviland Hughes “fails to provide any documentary

support” to enable her “to determine whether such Claims should be Allowed Class 6 Claims.”

D.I. 8671 at 6. The GUC Trustee further claims that the “Claims do not meet the standard for

establishing prima facie validity.” Id. at 7. Finally, the GUC Trustee claims “[f]ailure to

disallow” the Haviland Hughes’ claims “will result in the applicable Claimant receiving an

unwarranted recovery to the detriment of the Reorganized Debtors’ other stakeholders.” Id.

                                  Haviland Hughes’ Concise Response

       3.      The integral role Haviland Hughes played in the advancement of the rights of the

Acthar Plaintiffs, on behalf of all similarly situated Acthar purchasers, both within and outside

bankruptcy should not be overlooked.

       4.      Haviland Hughes succeeded in achieving several litigation milestones on behalf

of its clients. These include the following successes.

       5.      First, the firm turned the Debtors away from seeking a sweeping release of the

Express Scripts Entities under the Plan. By the direct efforts of Haviland Hughes – codified in

multiple emails exchanged with Debtors’ counsel – the Debtors agreed to modify the Plan to

remove the Express Scripts Entities from the Release and allow Acthar purchasers to advance

their rights against Express Scripts outside of this Court.

       6.      Haviland Hughes’ clients then agreed to withdraw their meritorious objections to

the Plan, clearing the way for this Court to approve the Plan and allow it to go Effective in June

2022 for the benefit of the Debtors and all interested parties.




                                                  3
             Case 20-12522-JTD          Doc 8762      Filed 05/04/23     Page 5 of 13




       7.      Second, the firm turned the Debtors away from seeking findings of this Court that

their exclusive distribution agreement with Express Scripts’ Curascript did not violate the

antitrust laws and other laws. To the contrary, the Debtors ultimately agreed to abandon the

Curascript agreement and contracted with a different distributor, FFF Enterprises, over Express

Scripts’ objections. E.g., D.I. 4711 (Express Scripts’ Reservation of Rights) at 2 (arguing that

the “uncertainty” caused by the Acthar Plaintiff’s claims “directly affects the feasibility of the

Debtors’ Plan, which relies on the ability to continue selling and distributing Acthar under the

current distribution model.”). Compare D.I. 4508 (Amended Plan) at 121, par. 20 (requiring

findings as a condition precedent to the Plan Effective Date), with D.I. 5637 at 132 at par. 20

(redline changes, deleting proposed findings); see D.I. 4711 (Express Scripts’ Reservations of

Rights) at 2 (arguing that the “uncertainty” caused by the Acthar Plaintiff’s claims “directly

affects the feasibility of the Debtors’ Plan, which relies on the ability to continue selling and

distributing Acthar under the current distribution model.”); D.I. 6512-2 at 181, par. 286

(Confirmation Order adding language proposed by Express Scripts that it could object to the

Debtors’ assumption of the exclusive distribution agreement)

       8.      After first seeking an advisory opinion as to a proposed amended Exclusive

Wholesale Product Purchase Agreement with Curascript in September 2021 via a Motion to

Assume (D.I. 4487), in which Motion Express Scripts joined and argued vehemently in favor of,

Debtors agreed to withdraw such Motion in the face of Haviland Hughes vigorous opposition.

       9.      The Court ultimately approved the assumption of the new distribution contract

with FFF, opening the door to broader distribution of Acthar, unencumbered by Express Scripts




                                                  4
               Case 20-12522-JTD              Doc 8762        Filed 05/04/23         Page 6 of 13




antitrust grip, competition from ANI Pharmaceuticals, and massive decreases in the price of

Acthar for the substantial benefit of the Acthar Plaintiffs and all purchasers of Acthar. 6

         10.      Third, the Haviland Hughes successfully defeated the Debtors’ Amended

Adversary Complaint for Declaratory Relief and Objection to Certain Prepetition Claims, Case

No. 21-51182-JTD, D.I. 3. The parties reached agreement on the dismissal of the adversary in

exchange for the Acthar Plaintiffs’ agreement to withdraw their claims and objections to the

Plan. This was part of a global resolution of all issues, including prohibiting the release of

Express Scripts under the Plan and removing proposed findings as to the legality of the exclusive

distribution of Acthar through Curascript. The Debtors dropped Curascript as its exclusive

distributor, which is a material part of the declaratory and injunctive relief sought by the Acthar

Plaintiffs.

         11.      Having prevailed in all these respects, Haviland Hughes’ claims for attorneys’

fees against Mallinckrodt plc and Mallinckrodt ARD are well-supported in the factual record of

the proceedings in this case. At this juncture, the claimant should not be required to regurgitate

such record, which was developed in this Court, simply to inform the GUC Trustee about

proceedings her lawyers observed while being paid to serve as counsel for the UCC.

         12.      The statutes pursuant to which Haviland Hughes advance the claims of its clients

all provide for an award of statutory fees for the firm’s successes as described herein. 7


6
  The evidence of such changes in distribution, competition, and price decreases has been produced outside the
Bankruptcy Court and has been designated as highly confidential by both Mallinckrodt and Express Scripts subject
to the terms of Confidentiality Orders entered by the Courts in the Class Action Cases. While the GUC Trustee asks
for “all documentation or other evidence of the Claim in question”, D.I. 8671 at 9, respectfully, she is not permitted
to receive such evidence at this time until the issue of the claims of confidentiality is addressed. Haviland Hughes
welcomes the public disclosure of such evidence, including the documents and deposition testimony which amply
support its factual assertions contained herein.
7
 See, inter alia, e.g., Sherman Act (15 U.S.C. §1, et seq. and 15 U.S.C. §2 et seq.), RICO (18 U.S.C. §1962, et seq.),
Pennsylvania’s Unfair Trade Practices and Consumer Protection Law (73 Pa. Stat. Ann §§201, et seq.), and the
Tennessee Trade Practices Act (§47-25-101 et seq.) (E.g., Illinois v. Sangamo Constr. Co., 657 F.2d 855058 (7th Cir.


                                                          5
               Case 20-12522-JTD             Doc 8762         Filed 05/04/23        Page 7 of 13




         13.      The fees and costs incurred by Haviland Hughes in achieving the litigation

successes described herein were reasonable.

         14.      The GUC Trustee has not challenged Haviland Hughes’ lodestar at this juncture,

either the hours expended or the rates charged. Haviland Hughes would welcome a discussion at

the appropriate time, as the rates charged by the firm are far less than those charged by the GUC

Trustee counsel to the Debtors’ estates and now the GUC Trust. As for the hours expended,

Haviland Hughes’ time spent is reasonable and efficient, and the firm has not yet included any

hours expended during the bankruptcy, which lodestar exceeds $4 million. Such additional

lodestar report, and the backup thereto, will be produced as needed at the appropriate time, in an

appropriate from and with appropriate protections for client confidentiality and privileges.

         15.      The Court will recall that, in seeking a preliminary injunction, the Debtors’

evidence revealed that, “Mr. Eisenberg [] testified that if the cases aren’t stayed, he expects the

cost to be approximately $18 million defending against the actions…. And that’s just in this

270-day period.” Nov. 18, 2020 Hrg. Tr. at 18:8-12. In response, the Court had the following

colloquy:

       THE COURT: Mr. Harris, that $18 million dollars, you know, at some point, these claims
       have to be liquidated. And that expense is going to occur, right?

       MR. HARRIS: That expense will certainly occur, sir, but not necessarily in those courts
       with uncoordinated discovery. There may be a way to make it do more efficiently or as in
       (sic) often happens in bankruptcy, there may always be a resolution.




1981) (“Section 4 of the Clayton Act, 15 U.S.C. §15, entitles a successful private litigant to ‘recover threefold the
damages by him sustained, and the costs of suit, including a reasonably attorney’s fee’. Courts uniformly have held
that the award of attorneys’ fees and costs to the successful plaintiff under Section 4 is mandatory.”) (citations
omitted); Krishman v. Cutler Grp., Inc., 2017 PA Super 312, 171 A.3d 856, 871 (“The UTPCPL, by virtue of [73
Pa. Stat. Ann. §201-9.2(a)] authorizes a trial judge to grant a successful litigant an award for additional damages,
reasonable attorney fees, and costs.” (quoting 73 P.S. §201-9.2(a) and citing Neal v. Bavarian Motors, Inc., 2005 PA
Super 305, 882 A.2d 1022, 1029-30 (Pa. Super. 2005)).



                                                         6
              Case 20-12522-JTD          Doc 8762       Filed 05/04/23   Page 8 of 13




      The point is there is no benefit to consume that money now before it has to be consumed
      before we see how this restructuring goes. But, certainly, at some point, these claims have
      to be addressed.

Nov. 18, 2020 Hrg. Tr. at 18:13-24.

       16.      The Debtors and counsel for the other involved parties in the bankruptcy

expended tens of millions of dollars monthly in fighting Haviland Hughes and the Acthar

Plaintiffs. In the end, the total legal bill was in the hundreds of millions, as opposed to the $18

million Mr. Eisenberg first estimated.

       17.      Having expended all those fees, at the expense of “hopelessly insolvent” Debtors

and to the detriment of the unsecured creditors in this case, the GUC Trustee now seeks to re-

litigate many of the settled issues, simply to challenge the bona fides of the Haviland Hughes fee

claims. At some point, the Court will have to say, enough is enough. The attorneys for the GUC

Trustee should not be permitted to bill more fees, on top of the substantial fees they already

earned, fighting the fee claim of attorneys for same clients they were charged with represented in

their capacity as members of the UCC.

  The Acthar Plaintiff’s Cases Against Mallinckrodt Seeking Declaratory and Injunctive
              Relief as to the Exclusive Wholesale Distribution of Acthar.

       18.      Haviland Hughes filed multiple lawsuits in various courts around the country

against Mallinckrodt seeking declaratory and injunctive relief as to Mallinckrodt’s role in the

antitrust conspiracy to raise and fix the prices of Acthar through an arrangement giving Express

Scripts the exclusive right to distribute Acthar.

       19.      These cases consist of the following:

             a. City of Rockford v. Mallinckrodt ARD, LLC, et. al., 3:17-cv-50107 (N.D. Ill) (“the

                Rockford Action”);




                                                    7
               Case 20-12522-JTD         Doc 8762       Filed 05/04/23       Page 9 of 13




              b. Steamfitters Local 420 v. Mallinckrodt ARD, LLC, 2:19-cv-03047-BMS (E.D. Pa)

                 (“the Steamfitters Local 420 Action”);

              c. United Ass’n of Plumbers and Pipefitter Local 322 of Southern New Jersey v.

                 Mallinckrodt ARD, LLC, et. al., 1:20-cv-00188-RBK-KMW (D.N.J.) (“the

                 Plumbers Local 322 Action”);

              d. International Union of Operating Engineers Local 542 v. Mallinckrodt ARD, et.

                 al., Civil Action No. 2:21-cv-00114-BMS (E.D.Pa.) (“the IOUE Local 542

                 Action”);8 and

              e. Acument Global Technologies v. Mallinckrodt ARD et. al., Case no. 2:21-cv-

                 02024 (W.D. Tenn.) (“the Acument Action”). 9

The Rockford, Steamfitters and Local 542 Actions are collectively referred to as the “Class

Action Cases.”

        20.      The three Federal District Courts in the Class Action Cases all denied Debtors’

Motions to Dismiss premised in part on the Acthar Plaintiffs’ class action allegations. See e.g.,

D.I. 410 at ¶ 23. 10


8
  Mallinckrodt and Express Scripts removed the IUOE Local 542 Action to federal Court on January 19,
2021. IUOE Local 542 filed a Motion for Remand on January 27, 2021. Mallinckrodt opposed the
remand on February 11, 2021. On March 10, 2021, the Court ruled that the case should be transferred to
this Court for decision on the remand motion. E.D.Pa. Dkt. No. 17 at 3 (“this case is transferred to the
District of Delaware with the expectation [that] it will be transferred to the Bankruptcy Court for the
District of Delaware to decide the remand issue”). While the Bankruptcy Court agreed to withdraw the
reference, the case remains pending in the District of Delaware awaiting an Order of the Court on the
parties’ stipulated request to return the case to Philadelphia.
9
  Mallinckrodt and Express Scripts removed the Acument Action to federal Court on January 8, 2021.
Acument filed a Motion for Remand, which Mallinckrodt opposed. The Tennessee Federal Court has
remanded the case back to state court.
10
  See City of Rockford, et. al. v. Mallinckrodt ARD, Inc., et. al., 360 F.Supp. 3d. 730 (N.D.Illinois
2019)(denying Defendants’ motions to dismiss antitrust claims); City of Rockford, et. al. v. Mallinckrodt
ARD, Inc., et. al., 2019 U.S.Dist. LEXIS 103885 (N.D. Ill. May 3, 2019)(denying ESI motion to
reconsider denial of motion to dismiss); United Ass’n of Plumbers & Pipefitters Local 322 of S.N.J. v.


                                                    8
             Case 20-12522-JTD         Doc 8762       Filed 05/04/23     Page 10 of 13




       21.     The Federal District Courts in the Class Action Cases entered Case Management

Orders governing the orderly conduct of the cases.

       22.     After Mallinckrodt filed for bankruptcy, the Class Action Cases were stayed.

The Debtors’ Multiple Requests to Enjoin Proceedings Against Express Scripts, to Preserve
         and Protect Their Agreement for the Exclusive Distribution of Acthar.

       23.     Unsatisfied with just staying the proceedings against it in the Class Action Cases,

Mallinckrodt sought to protect its conspiracy to fix the prices of Acthar by seeking to enjoin all

proceedings pending against its co-conspirator, Express Scripts, in the Class Action Cases.

       24.     Debtors conceded in their Amended Adversary Complaint filed in this Court that

the Rockford Action “is furthest along and deep in discovery”. Amended Adversary Complaint

[Adv. Pro. D.I. 15] at 60. As a result, they needed to stop Rockford to try to hold on to their

exclusive arrangement with Express Scripts.

       25.     Debtors succeeded. This Court enjoined all proceedings in the Class Action

Cases, and extended the injunction, repeatedly, over the vigorous objections of Haviland Hughes

and the Acthar Plaintiffs.

       26.     Despite such injunction against proceedings outside bankruptcy, Haviland Hughes

pressed its clients’ claims in the bankruptcy at every opportunity.

       27.     The firm ultimately prevailed, as described above.

       28.     It is clear the Debtors had no intention of changing their unlawful practices in

relation to Acthar, and would not have made the changes they did without the constant pressure

of Haviland Hughes and the Acthar Plaintiffs.


Mallinckrodt ARD, LLC, 2020 U.S.Dist. LEXIS 148343 (D.N.J. Aug. 18, 2020)(denying Mallinckrodt
motion to dismiss New Jersey antitrust claims); Steamfitters Union Local No. 420 v. Mallinckrodt ARD,
LLC and United BioSource LLC, Civil Action No. 19-3047 (E.D.Pa.), Dkt. No. 57 (Order denying
Defendants’ motions to dismiss RICO and consumer fraud claims).



                                                  9
             Case 20-12522-JTD         Doc 8762       Filed 05/04/23    Page 11 of 13




       29.      For instance, during the hearing on the Debtors’ Motion for a Preliminary

Injunction, Debtors’ Chief Transformation Officer, Stephen Welch, testified that he had “not

heard of any corrective actions or any responses, for that matter, to the report” by Congress about

Mallinckrodt’s Acthar business, and that “[t]here is no parallel operating injunction with respect

to the Acthar business” as with the opioids business under the RSA. Nov. 16. 2020 Hrg. Tr. at

83:15-16, 84:5-6.

       30.      The then-President of Mallinckrodt ARD, the Debtor which owned the Acthar

business, Bryan Reasons testified as follows:

       Q: …[D]o you agree with me that none of the practices of the company, ARD, that are
       described in those [Acthar Plaintiffs’] lawsuits has changed as a result of the bankruptcy
       filing?

       A Yes.

Nov. 17, 2020 Hrg. Tr. at 22: 8-11.

       31.      Debtors were forced to file an Adversary Proceeding against the City of

Rockford, including (1) a Complaint for Determination and Declaration of Dischargeability of

Alleged Claims and Debts by City of Rockford (Adv. Pr. 21-50428, D.I. 1); (2) a Motion for

Summary Judgment (D.I. 2, 3); (3) a Motion for Scheduling Order, seeking to expedite

consideration of the summary judgment motion (D.I. 4, 5), and a supporting Declaration (D.I. 6).

       32.      They did this as a last resort to try to hold on to their exclusive arrangement with

Express Scripts.

       33.      Haviland Hughes now possesses the documentary evidence of the Debtors’

(through Latham & Watkins) direct negotiations with Express Scripts (through Quinn Emanuel)

to amend the exclusive agreement and provide indemnity to Express Scripts with partial




                                                 10
              Case 20-12522-JTD        Doc 8762       Filed 05/04/23   Page 12 of 13




reimbursement of Quinn Emanuel’s attorneys’ fees. Those negotiations led to the unsigned

agreement put before this Court as part of the Motion to Assume.

        34.      Haviland Hughes also possesses the documentary evidence of Mallinckrodt’s

decision to change distributors, abandoning Curascript and taking away its exclusive Acthar

distribution rights.

        35.      Haviland Hughes possesses the documentary evidence of Express Scripts

exclusive distribution and pharmacy rights to Acthar’s competitor, ANI Pharmaceuticals’

corticotropin gel.

        36.      This evidence was presented to multiple witnesses from Mallinckrodt and Express

Scripts. Haviland Hughes possesses this deposition testimony, bolstering its claims that change

was brought about by the zealous pursuit of the Acthar Plaintiffs’ rights.

        37.      The GUC Trustee has no such evidence, and should not have the right to access

such evidence.

        38.      Accordingly, she has no basis for the boilerplate claims that the HH Claims are

unfounded.

                                     REQUEST FOR RELIEF

        39.      By this Response to the GUC Trustees’ Objection, unsecured creditor Haviland

Hughes respectfully requests that the GUC Trustee’s objection to its claims be overruled.

Date: May 4, 2023
      Wilmington, Delaware
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                                                 11
Case 20-12522-JTD   Doc 8762    Filed 05/04/23    Page 13 of 13




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                           12
